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DECLARATION OF TERRENCE DRAIN

STATE OF TENNESSEE
COUNTY OF SHELBY

I, Terrence Drain, after being first duly sworn, on oath states as follows:

1. I am one of the Plaintiffs and a member of the class in this matter.

de I was arrested and held in the Shelby County Jail at 201 Poplar for 22 days.

Bi, During that time I had no way of knowing when I would be released.
4, Following my release, | sought representation from an attorney.
5, I was advised by my attorney that I had a civil rights claim for unlawful detention

with a very high probability of success due to the circumstances of my arrest and detention.

6. I was advised that | had the right to bring suit under 42 U.S.C. Section 1983 and
other state laws and that I would likely be able to recover significant damages as well as attorney’s
fees. I was also advised of the existence of a class action lawsuit originally brought by Isaaca
Powell against Shelby County Tennessee that sought both damages for similar claims but also
injunctive relief. Specifically, | was advised that the class action suit sought to ensure that Shelby
County had policies in place to make sure that what happened to me never happened to anyone
else.

7h I was also advised that things might proceed more quickly if I pursued my claim
individually rather than as a named plaintiff in a class action suit. I was also told that I could choose
to “opt-out” of the class action suit at any time and pursue my own claim with my attorney or with
another attorney of my choosing.

8. I chose to pursue the class action suit along with the other named plaintiffs because

I understood that we were acting to protect the civil rights of our fellow citizens, not merely obtain

monetary relief.
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9, Over the nearly five (5) years of this litigation, we had lengthy conferences with
our attorneys on dozens of occasions so that we could provide detailed information about our
arrests and detention. We were required to remain up to date on the lengthy and complex litigation
processes that were not easy for us to understand. I was personally directly involved in helping
determine what sorts of policy changes would have helped me obtain release so that we could
make sure that those protections were there for others in future.

10. I personally gave a deposition in this matter. I responded to written discovery
requests. I have had to miss numerous days of work in order to pursue the litigation. Because my
name was on court documents it has also appeared in the press, thereby publicizing the fact that I
was arrested.

11. Most critically, I have spent five (5) years pursuing litigation that is in the public
interest when I likely could have resolved this far more quickly had I abandoned my concern for
the public and only pursued my own interests.

12. Based on the foregoing, I believe that the negotiated incentive payment of $17,500

is reasonable.

I, Terrence Drain, declare under the penalty of perjury that the foregoing to be true and

TG

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Terrence Drain

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correct.

